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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

   UNITED THERAPEUTICS                              )
   CORPORATION,                                     )
                                                    )
                          Plaintiff,                )
                                                    )
          v.                                        ) C.A. No. 20-755 (RGA) (JLH)
                                                    )
   LIQUIDIA TECHNOLOGIES, INC.,                     )
                                                    )
                          Defendant.                )

                                        FINAL JUDGMENT
                                        9th day of September, 2022:
         At Wilmington, Delaware, this ____

         WHEREAS, Plaintiff United Therapeutics Corporation (“UTC”) commenced this action

  against Defendant Liquidia Technologies, Inc. (“Liquidia”) asserting infringement of U.S. Patent

  Nos. 9,593,066 (the “’066 patent”), 9,604,901 (the “’901 patent”), and 10,716,793 (the “’793

  patent”) by the products that are the subject of Liquidia’s New Drug Application No. 213005

  seeking approval by the U.S. Food and Drug Administration (“FDA”) for the manufacture, use,

  and sale of its proposed product LIQ861 (Yutrepia™);

         WHEREAS, on January 3, 2022, the Court granted UTC’s stipulation of non-infringement

  of the ’901 patent based on the Court’s construction of the claim term “contacting the solution

  comprising treprostinil from step (b) with a base to form a salt of treprostinil,” with UTC

  preserving all rights to appeal the Court’s construction of that term (D.I. 278);

         WHEREAS, at trial, UTC asserted infringement of claims 1, 2, 3, 6, 8, and 9 of the ’066

  patent and claims 1, 4, 6, 7, and 8 of the ’793 patent against Liquidia, and Liquidia asserted

  counterclaims of non-infringement and invalidity of those claims;

         WHEREAS, the Court held a bench trial in the above-captioned action on March 28 to

  March 31, 2022; and
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         WHEREAS, the Court issued a Trial Opinion setting forth its Findings of Facts and

  Conclusions of Law on August 31, 2022 (D.I. 433);

         IT IS HEREBY ORDERED AND ADJUDGED:

         1.      Judgment is hereby entered in favor of Liquidia and against UTC that claims 1, 2,

  3, 6, and 9 of the ’066 patent are invalid for the reasons set forth in the Court’s Trial Opinion of

  August 31, 2022 (D.I. 433);

         2.      Judgment is hereby entered in favor of Liquidia and against UTC that Liquidia’s

  proposed LIQ861 product will not infringe claim 6, 8, and 9 of the ’066 patent for the reasons set

  forth in the Court’s Trial Opinion of August 31, 2022 (D.I. 433);

         3.      Judgment is hereby entered in favor of UTC and against Liquidia that Liquidia’s

  proposed LIQ861 product will induce infringement of claims 1, 4, 6, 7, and 8 of the ’793 patent,

  and that those claims are not invalid, for the reasons set forth in the Court’s Trial Opinion of August

  31, 2022 (D.I. 433); and

         4.      Pursuant to 35 U.S.C. § 271(e)(4)(A), it is hereby ordered that the effective date of

  any final approval by the FDA of Liquidia’s New Drug Application No. 213005 shall be a date

  which is not earlier than the expiration date of the ’793 patent.

         IT IS FURTHER ORDERED:

         5.      In the event that any party appeals this Final Judgment, any motion for attorneys’

  fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3, including any

  motion that this case is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and

  served within thirty days after final disposition of any such appeal; and

         6.      In the event that no party appeals this Final Judgment, any motion for attorneys’

  fees and/or costs under Fed. R. Civ. P. 54(d) and/or Local Rules 54.1 and/or 54.3, including any

  motion that this case is exceptional under 35 U.S.C. § 285, shall be considered timely if filed and

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  served within thirty days after the expiration of the time for filing a notice of appeal under Federal

  Rules of Appellate Procedure 3 and 4; and

         7.      Except as provided herein, all other claims and counterclaims in this action are

  withdrawn and dismissed with prejudice.



                                                  /s/ Richard G. Andrews
                                                 The Honorable Richard G. Andrews
                                                 United States District Judge




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